               Case 17-51882-CSS         Doc 374     Filed 08/02/20     Page 1 of 2




                     IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF DELAWARE


 In re                                                        Chapter 11

 PARAGON OFFSHORE PLC,                                        Bankr. Case No. 16-10386 (CSS)

                         Debtor.



 PARAGON LITIGATION TRUST,

                         Plaintiff,

          v.

 NOBLE CORPORATION PLC, NOBLE                                 Adv. Proc. No. 17-51882 (CSS)
 CORPORATION HOLDINGS LTD, NOBLE
 CORPORATION, NOBLE HOLDING
 INTERNATIONAL (LUXEMBOURG) S.à r.l.,
 NOBLE HOLDING INTERNATIONAL
 (LUXEMBOURG NHIL) S.à r.l., NOBLE FDR
 HOLDINGS LIMITED, NOBLE HOLDING
 INTERNATIONAL LIMITED, NOBLE HOLDING
 (U.S.) LLC, NOBLE INTERNATIONAL FINANCE
 COMPANY, MICHAEL A. CAWLEY, JULIE H.
 EDWARDS, GORDON T. HALL, JON A.
 MARSHALL, JAMES A. MACLENNAN, MARY P.
 RICCIARDELLO, JULIE J. ROBERTSON, and
 DAVID WILLIAMS,

                         Defendants.


          ORDER GRANTING THE PARTIES' REQUEST TO AMEND CERTAIN
                   DEADLINES IN THE SCHEDULING ORDER

         Upon the representations made by the parties and after due deliberation and sufficient

cause appearing therefor,

         IT IS HEREBY ORDERED that:


                                                 5
             Case 17-51882-CSS        Doc 374     Filed 08/02/20    Page 2 of 2




              1.     The deadlines in the Order Granting Plaintiff’s Request to Amend Certain

Deadlines [Docket No. 367] (the “Scheduling Order”) are amended as follows:


             Event                       Prior Deadline               Amended Deadline
   Joint Pre-Trial Memorandum             August 5, 2020               August 27, 2020
           Trial Briefs                  August 28, 2020                  No Change
       Pretrial Conference          August 12, 2020 at 10 a.m.      September 1, 2020 at 11
                                             (EDT)                       a.m. (EDT)
 Oral Argument on at Motions in     August 11, 2020 at 3 p.m.       September 9, 2020 at 1
  Limine [Docket Nos. 300, 305               (EDT)                       p.m. (EDT)
           and 308]
 Oral Argument on at Motions in    September 9, 2020 at 1 p.m.            No Change
  Limine [Docket Nos. 311 and               (EDT)
             314]


              2.     Other than the deadlines changed herein, the terms of the Scheduling

Order remain unchanged by this amended order.




       Dated: August 2nd, 2020                    CHRISTOPHER S. SONTCHI
       Wilmington, Delaware                       UNITED STATES BANKRUPTCY JUDGE
                                              6
